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•   MORE



    Star Trek: Discovery Ripper
    Origin & Navigator Explained
       •   BY JOHN ORQUIOLA
       •   – ON OCT 11, 2017
       •   IN SR ORIGINALS


                  https://screenrant.com/star-trek-discovery-ripper-tardigrade-monster-
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    One of the guiding principles of Starfleet is "to seek out new life and new
    civilizations." Though Star Trek: Discovery began its 15 episode voyage
    introducing the backstory of its lead character Michael Burnham (Sonequa
    Martin-Green) and setting up the Klingon War, the series has since settled in and
    begun embracing the more familiar characteristics of Star Trek. In the past two
    episodes, Discovery has introduced a new alien species that is rather unlike
    anything seen before in Star Trek, and then pulled off the neat trick of revealing a
    surprising function for the alien on board the U.S.S. Discovery.

    The Discovery, commissioned as a science and exploratory vessel, has been
    forced to become a warship. Under the command of Captain Gabriel Lorca
    (Jason Isaacs), Discovery's new mission is to find a way to win the war and
    pursue any avenue to achieve this objective and save the Federation from the
    Klingons. As such, Lorca has been searching for any and all types of weapons
    and technology that would give them an advantage over the Klingons.

    Discovery and her sister ship the U.S.S. Glenn were the only two ships in
    Starfleet that possessed experimental displacement-activated spore hub drives.
    Based on technology developed by Lieutenant Paul Stamets (Anthony Rapp), the
    spore hub drives allow a starship to travel on the Mycelium spore network, which
    encompasses the known universe. Essentially a starship could jump to any point
    and the universe and back instantaneously. The technology was unreliable; the
    Glenn had found a way to use the drive to make longer space jumps where
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Discovery could not, but the Glenn suffered a fatal accident when it crashed into
an undetected Hawking radiation firewall, killing all hands aboard. Except for one
life form.
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In the third episode "Context Is For Kings," an away team from Discovery
boarded the derelict Glenn and encountered the bodies of Klingon soldiers trying
to steal tech. They then encountered a giant monster, that chased them around
the ship, until Michael Burnham was able to distract it long enough for the away
team to escape on their shuttle craft. Later, Captain Lorca ordered the monster
beamed on board Discovery where he imprisoned it within his secret war room,
containing a menagerie of deadly weapons and artifacts he is studying to help
Starfleet gain an edge on the Klingons. In the newest episode "The Butcher's
Knife Cares Not For the Lamb's Cry," Lorca gave Burnham her first assignment
as a member of Discovery's crew: find out how the creature has claws that can
rip through the hull of a ship, how its hide is able to withstand a phaser set to kill,
and weaponize it against the Klingons.
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                                     RIPPER


What Burnham discovered when she analyzed the creature is that it shares
natural traits with the tardigrade species found on Earth. The tardigrade, or water
bear, is a micro animal that can survive extreme heat and sub-freezing
temperatures, including the vacuum of space. The tardigrade on Discovery has a
natural aversion to light and was not carnivorous; it had passive means of
obtaining nutrition. Burnham theorized that the tardigrade was not an inherently
hostile creature but attacks in self-defense.

These findings weren't good enough for Commander Landry (Rekha Sharma),
who only saw the tardigrade as a monster. Landry named the tardigrade "Ripper"
and insisted they follow Lorca's orders and find a way to immediately weaponize
it. She foolishly released it and attacked it; the tardigrade rampaged in self-
defense and quickly made short work of Landry.

However, Burnham's theories about Ripper not being inherently hostile were
proven correct when she asked First Officer Saru (Doug Jones) to the menagerie
and showed him the tardigrade. Saru, a Kelpien, possesses threat ganglia which
warn him of imminent danger. When Saru's threat ganglia didn't immediately
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react to Ripper, Burnham confirmed Ripper was not a direct threat to life. Ripper
has a different function entirely than as a weapon.

                       THE NEW NAVIGATOR


Discovery's new mission was to jump 84 light years and save the colony of
Corvan 2 - the galaxy's largest supplier of dilithium crystals, which power the
warp drive of every starship - from Klingon attack. With less than 6 hours before
Corvan 2 would be destroyed, Discovery needed to make a jump farther than it
ever had successfully before. However, Discovery lacked the ability to maintain
navigational stability to make long jumps accurately. The away team brought a
device on board from the Glenn that was an augmentation they used to their
navigation system which allowed them to make perfect long jumps on the
Mycelial spore network, but it was missing a super computer that could process
the calculations necessary to make the jumps accurate.
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Burnham realized the tardigrade was reacting to the spores during Discovery's
"Black Alert" when they made their jumps and it was communicating with the
spores. She and Stamets proved this theory correct and then placed Ripper in
the reaction cube in Engineering, where Ripper interfaced with the device from
the Glenn. Ripper was the super computer the Glenn was using; Ripper can
achieve a symbiosis to communicate with the spores and accurately calculate the
coordinates for their jumps. With Ripper's help, Discovery was able to make the
jump to Corvan 2, destroy the attacking Klingon ships and save the colony.

Though Ripper proved itself to be an invaluable 'member of the crew,' Burnham
learned interfacing with the Mycelium spore drive takes a physical toll on
Ripper. "I'm sorry," Burnham told the tardigrade as she offered it more spores to
sooth its pain. Like Burnham herself, Ripper is now under the thrall of Captain
Lorca and enlisted into the war effort. But at what cost?

One thing's for sure, Star Trek: Discovery has contributed something new and
unique to Star Trek lore with Ripper, a starship navigator quite unlike Mr. Chekov
(Walter Koenig), who will be the Starship Enterprise's navigator a decade from
now in the timeline. Ripper is yet another example of how Star Trek teaches not
to judge a species by its appearance, because you never know what valuable
contribution a life form can offer to the greater good.
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